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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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        SECURITIES AND EXCHANGE                     Case No. 20-cv-08604-JAK-MAAx
12      COMMISSION,
13                   Plaintiff,
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              vs.
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        ROBERT HODDES JACOBS,
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                     Defendant,
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19                                    FINAL JUDGMENT
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21          The Securities and Exchange Commission having filed a Complaint and
22    Defendant Robert Hoddes Jacobs (“Defendant”) having entered a general appearance;
23    consented to the Court’s jurisdiction over Defendant and the subject matter of this
24    action; consented to entry of this Final Judgment without admitting or denying the
25    allegations of the Complaint (except as to jurisdiction and except as otherwise
26    provided herein in paragraph V); waived findings of fact and conclusions of law; and
27    waived any right to appeal from this Final Judgment:
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1                                                  I.
2           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
3     permanently restrained and enjoined from violating Section 17(a) of the Securities
4     Act of 1933 (“Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any
5     security by the use of any means or instruments of transportation or communication
6     in interstate commerce or by use of the mails, directly or indirectly:
7           (a)       to employ any device, scheme, or artifice to defraud;
8           (b)       to obtain money or property by means of any untrue statement of a
9           material fact or any omission of a material fact necessary in order to make the
10          statements made, in light of the circumstances under which they were made,
11          not misleading; or
12          (c)       to engage in any transaction, practice, or course of business which
13          operates or would operate as a fraud or deceit upon the purchaser.
14          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
15    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
16    binds the following who receive actual notice of this Final Judgment by personal
17    service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
18    attorneys; and (b) other persons in active concert or participation with Defendant or
19    with anyone described in (a).
20                                                 II.
21          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
22    Defendant is permanently restrained and enjoined from violating, directly or
23    indirectly, Section 10(b) of the Securities Exchange Act of 1934 “Exchange Act”) [15
24    U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by
25    using any means or instrumentality of interstate commerce, or of the mails, or of any
26    facility of any national securities exchange, in connection with the purchase or sale of
27    any security:
28          (a)       to employ any device, scheme, or artifice to defraud;

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1           (b)    to make any untrue statement of a material fact or to omit to state a
2           material fact necessary in order to make the statements made, in the light of the
3           circumstances under which they were made, not misleading; or
4           (c)    to engage in any act, practice, or course of business which operates or
5           would operate as a fraud or deceit upon any person.
6           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
7     provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
8     binds the following who receive actual notice of this Final Judgment by personal
9     service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
10    attorneys; and (b) other persons in active concert or participation with Defendant or
11    with anyone described in (a).
12                                               III.
13          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that,
14    pursuant to Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)] and
15    Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)], Defendant is
16    prohibited from acting as an officer or director of any issuer that has a class of
17    securities registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l] or
18    that is required to file reports pursuant to Section 15(d) of the Exchange Act
19    [15 U.S.C. § 78o(d)] for five (5) years from the date of this judgment.
20                                               IV.
21          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
22    Defendant is liable for a civil penalty in the amount of $157,095.90 pursuant to
23    Section 21A of the Exchange Act [15 U.S.C. § 78u-1]. Defendant shall satisfy this
24    obligation by paying $157,095.90 to the Securities and Exchange Commission within
25    30 days after entry of this Final Judgment.
26          Defendant may transmit payment electronically to the Commission, which will
27    provide detailed ACH transfer/Fedwire instructions upon request. Payment may also
28    be made directly from a bank account via Pay.gov through the SEC website at

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1     http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified
2     check, bank cashier’s check, or United States postal money order payable to the
3     Securities and Exchange Commission, which shall be delivered or mailed to
4           Enterprise Services Center
5           Accounts Receivable Branch
6           6500 South MacArthur Boulevard
7           Oklahoma City, OK 73169
8     and shall be accompanied by a letter identifying the case title, civil action number,
9     and name of this Court; identifying Robert Hoddes Jacobs as the defendant in this
10    action; and specifying that payment is made pursuant to this Final Judgment.
11          Defendant shall simultaneously transmit photocopies of evidence of payment
12    and case identifying information to the Commission’s counsel in this action. By
13    making this payment, Defendant relinquishes all legal and equitable right, title, and
14    interest in such funds and no part of the funds shall be returned to Defendant. The
15    Commission shall send the funds paid pursuant to this Final Judgment to the United
16    States Treasury.
17          Defendant shall pay post judgment interest on any delinquent amounts pursuant
18    to 28 U.S.C. § 1961.
19                                               V.
20          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that,
21    solely for purposes of exceptions to discharge set forth in Section 523 of the
22    Bankruptcy Code, 11 U.S.C. § 523, the allegations in the complaint are true and
23    admitted by Defendant, and further, any debt for disgorgement, prejudgment interest,
24    civil penalty or other amounts due by Defendant under this Final Judgment or any
25    other judgment, order, consent order, decree or settlement agreement entered in
26    connection with this proceeding, is a debt for the violation by Defendant of the
27    federal securities laws or any regulation or order issued under such laws, as set forth
28    in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

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1                                                   VI.
2                 IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND
3     DECREED that this Court shall retain jurisdiction of this matter for the purposes of
4     enforcing the terms of this Final Judgment.
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      Dated: September 24, 2020             ____________________________________
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                                            John A. Kronstadt
8                                           United States District Judge
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